Case 3:18-cv-17195-RK-JTQ Document 151-4 Filed 04/17/24 Page 1 of 5 PageID: 1827




                              EXHIBIT D
Case 3:18-cv-17195-RK-JTQ Document 151-4 Filed 04/17/24 Page 2 of 5 PageID: 1828




                                   UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEW JERSEY


  HIS ALL HOLINESS, BARTHOLOMEW I,                             Case No. 3:18-cv-17195-MAS-DEA
  THE ARCHBISHOP OF
  CONSTANTINOPLE, NEW ROME, AND                                The Hon. Judge Michael A. Shipp, U.S.D.J.
  ECUMENICAL PATRIARCH; THE HOLY
  METROPOLIS OF DRAMA; AND THE                                 The Hon. Judge Zahid N. Quraishi, U.S.M.J.
  MONASTERY OF THEOTOKOS
  EIKOSIPHOINISSA,

                                        Plaintiffs,            PLAINTIFF THE HOLY METROPOLIS
                                                               OF DRAMA’S RESPONSES AND
                             vs.                               OBJECTIONS TO DEFENDANT’S FIRST
                                                               SET OF INTERROGATORIES
  PRINCETON UNIVERSITY,

                                       Defendant.


            Plaintiff the Holy Metropolis of Drama (“Plaintiff,” or the “Monastery”), through its

 attorneys and pursuant to Rule 33 of the Federal Rules of Civil Procedure, responds and objects to

 Defendant Princeton University’s (“Defendant” 1) First Set of Interrogatories to Plaintiff, the Holy

 Metropolis of Drama (the “Interrogatories”) as follows:

                            GENERAL OBJECTIONS AND LIMITATIONS

            1.     Plaintiff continues to investigate and analyze the facts relating to this case and has

 not completed discovery. The responses and objections set forth herein are based on information

 currently known to Plaintiff. While the information set forth herein is true and correct to Plaintiff’s

 best knowledge as of this date, Plaintiff provides these responses and objections without prejudice

 to its right to correct, amend, or supplement them.




 1.   Defendant has indicated that its proper designation is The Trustees of Princeton University.

                                                           1
 94730880
Case 3:18-cv-17195-RK-JTQ Document 151-4 Filed 04/17/24 Page 3 of 5 PageID: 1829




               The Patriarch (alive), whose efforts, throughout his term as Archbishop of

                Constantinople, New Rome, and Ecumenical Patriarch from 1991 to present, include,

                without limitation, encouraging the efforts of Metropolitans Dionysios and Pavlos and

                various representatives of the Greek government to locate and recover the manuscripts

                stolen from the Monastery in 1917, including the Manuscripts.

               Plaintiffs’ counsel and consulting experts, whose efforts, beginning in 2012, include,

                without limitation, carrying out an investigation seeking to locate and recover the

                manuscripts stolen from the Monastery in 1917, including the Manuscripts.

               The various Sisters and Monks of the Monastery, whose efforts include, without

                limitation, praying regularly and ardently for the return of the manuscripts stolen from

                the Monastery in 1917, including the Manuscripts, ever since their theft.

            Pursuant to Local Rule 33.1(c), as to the information requested in this Interrogatory,

 documents exist and oral communications took place.

 INTERROGATORY NO. 2.

            Identify how, when, where, and by whom, following their alleged unlawful taking on

 March 27, 1917, you first discovered the identity of the possessor(s) and the whereabouts of each

 Manuscript.



            In addition to the General Objections and Limitations set forth above, Plaintiff objects to

 this Interrogatory insofar as it seeks information protected from discovery by the attorney-client

 privilege and the work product doctrine.

            Subject to and without waiving the foregoing objections, Plaintiff responds that in or

 around March 2013 the current Metropolitan of Drama first discovered the identity of the possessor

 and the whereabouts of each Manuscript through Plaintiff’s counsel, Hughes Hubbard & Reed

                                                    10
 94730880
Case 3:18-cv-17195-RK-JTQ Document 151-4 Filed 04/17/24 Page 4 of 5 PageID: 1830




 LLP, which Plaintiff retained to help locate and recover the manuscripts stolen from the Monastery

 in March 1917, including the Manuscripts.

            Plaintiff further responds that in September 2019, Plaintiff learned of the existence of a

 book, published in 1995 and attributed to the late former Metropolitan of Drama Dionysios, that

 appears to state that Garrett MS. 14 and Garrett MS. 16 are in the Library of Princeton

 University. Plaintiff is in the process of investigating the significance of this and will amend this

 Response if and as appropriate.

            Pursuant to Local Rule 33.1(c), as to the information requested in this Interrogatory,

 documents exist and oral communications likely took place.

 INTERROGATORY NO. 3.

            Identify how, when, where, and by whom, following their alleged unlawful taking on

 March 27, 1917, you first discovered that Defendant possessed each Manuscript.



            In addition to the General Objections and Limitations set forth above, Plaintiff objects to

 this Interrogatory insofar as it seeks information protected from discovery by the attorney-client

 privilege and the work product doctrine.

            Subject to and without waiving the foregoing objections, Plaintiff responds that in or

 around March 2013 the current Metropolitan of Drama first discovered that Defendant possessed

 each Manuscript through Plaintiff’s counsel, Hughes Hubbard & Reed LLP, which Plaintiff

 retained to help locate and recover the manuscripts stolen from the Monastery in March 1917,

 including the Manuscripts.

            Plaintiff further responds that in September 2019, Plaintiff learned of the existence of a

 book, published in 1995 and attributed to the late former Metropolitan of Drama Dionysios, that

 appears to state that Garrett MS. 14 and Garrett MS. 16 are in the Library of Princeton

                                                     11
 94730880
Case 3:18-cv-17195-RK-JTQ Document 151-4 Filed 04/17/24 Page 5 of 5 PageID: 1831




                                             CERTIFICATION

            I, Alexander Apostolidis (Metropolitan Pavlos), hereby certi fy that that I am the

    Metropolitan of Plaintiff the Holy Metropolis of Drama (" Plainti ff' or the " Metropolis"), and I am

    authorized to submit this certification on behalf of Plaintiff. I do not bel ieve that one person at the

    Metropolis knows all of the matters stated herein and, therefore, Plaintiff the Holy Metropolis of

    Drama 's Objections and Responses to Defendant's Pirst Set of Interrogatories (" Plai nti frs

    Interrogatory Objections and Responses") was prepared with the assistance of and advice of

    representatives of, and counsel for, Plainti ff, on whose assistance and advice I have also relied. I

    have read Plaintiff's Interrogatory Objections and Responses, and I certify, under penalty of

    perjury, that the foregoing are true and correct to the best of my knowledge and belief, based upon

    my own knowledge and the in format ion supplied to me.


    Dated: October   11·f o 19
                                                                 £~
                                                                    Alexander J\postolidis
